               Case 23-11131-TMH              Doc 1195        Filed 01/23/24        Page 1 of 2




                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors. 1                          (Jointly Administered)


    NOTICE OF AGENDA FOR HEARING ON JANUARY 25, 2024 AT 10:00 A.M.
(PREVAILING EASTERN TIME2) BEFORE THE HONORABLE THOMAS M. HORAN
    IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


RESOLVED MATTERS

         1. Motion to Reject Lease or Executory Contract // Motion for the Entry of an Order (A)
            Authorizing Rejection of Restricted Stock Units Agreements and (B) Granting Related
            Relief [Filed January 11, 2024, Docket No. 1121].

         Response Deadline: January 18, 2024.

         Responses Received: None.

         Related Documents:

                 a.       [SIGNED] Order (A) Authorizing Rejection of Restricted Stock Units
                          Agreements and (B) Granting Related Relief [Filed January 22, 2024,
                          Docket No. 1185].

         Status: This matter is resolved.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    All motions and other pleadings referenced herein are available online at the following web address:
    https://cases.stretto.com/Amyris.
              Case 23-11131-TMH   Doc 1195   Filed 01/23/24   Page 2 of 2




 Dated: January 23, 2024                 PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/ James E. O’Neill
                                         Richard M. Pachulski (admitted pro hac vice)
                                         Debra I. Grassgreen (admitted pro hac vice)
                                         James E. O’Neill (DE Bar No. 4042)
                                         Jason H. Rosell (admitted pro hac vice)
                                         Steven W. Golden (DE Bar No. 6807)
                                         919 N. Market Street, 17th Floor
                                         P.O. Box 8705
                                         Wilmington, DE 19899-8705 (Courier 19801)
                                         Telephone: (302) 652-4100
                                         Facsimile: (302) 652-4400
                                         Email: rpachulski@pszjlaw.com
                                                 dgrassgreen@pszjlaw.com
                                                 joneill@pszjlaw.com
                                                 jrosell@pszjlaw.com
                                                 sgolden@pszjlaw.com

                                         Counsel to the Debtors and Debtors in Possession




                                        2
DOCS_LA:351882.1
